                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 GREGORY SMITH,                            )
                                           )
       Plaintiff,                          )
                                           )
        v.                                 ) Civ. No 1:15-cv-00161-ABJ
                                           )
 DISTRICT OF COLUMBIA,                     )
                                           )
       Defendants.                         )
 _________________________________________ )


                                  JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order on June 12, 2018, Plaintiff Gregory Smith and

Defendants, hereby submit the Parties’ Joint Status Report:

       1.      The Parties mediated this case before Magistrate Judge Harvey on June 5, 2018

and again on July 11, 2018.

       2.      Through mediation, the Parties have settled this case in part as follows:

               a. The Parties have settled Counts II-IV as to all Defendants in consideration for
                  payment to Plaintiff in an agreed upon amount that is to be made by the
                  District of Columbia within sixty (60) days of the District’s receipt from the
                  Plaintiff of an executed release.

               b. Count I (42 U.S.C. 1983) will proceed to a bench trial against the District of
                  Columbia as to liability to determine if Plaintiff is a prevailing party under 42
                  U.S.C. 1988 solely for purposes of determining Plaintiff’s eligibility to costs
                  and attorney’s fees. Plaintiff seeks no additional damages as to any claims.

               c. All offers of judgment made pursuant to Fed. R. Civ. P. 68 previously made
                  by the District of Columbia in this case are hereby withdrawn.

       3.      The Parties respectfully request a status hearing or a telephone conference for

purposes of scheduling the bench trial as to Count I.




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Dated: July 12, 2018

Respectfully submitted,



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